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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                      Plaintiff(s),               CASE NUMBER: 05-80025
                                                  HONORABLE VICTORIA A. ROBERTS
 v.

 D-1 TIMOTHY O’REILLY,

                 Defendant(s).
 _________________________________/

                                    ORDER
                       (REGARDING DOCUMENTS #206 and #209)

 I.     INTRODUCTION

        This matter is before the Court on Defendant’s “Motion to Strike the Non-

 Statutory Aggravators Alleged in the Government’s Notice of Intent to Seek the Death

 Penalty Filed on November 1, 2006, and Request for Evidentiary Hearing on any Non-

 Statutory Aggravators not Stricken.” (Doc. #209). Defendant O’Reilly (“O’Reilly”) argues

 that the non-statutory aggravating factors alleged in the Government’s Notice of Intent

 to Seek the Death Penalty (“Notice of Intent”) violate his Fifth, Sixth, and Eighth

 Amendment rights. Oral argument was heard on October 18, 2007.

        Also before the Court is O’Reilly’s “Motion to Compel Government to Disclose the

 ‘Death Penalty Evaluation Form’ and any other Documents reviewed by Attorney

 General Alberto Gonzales for the Purpose of Authorizing the Death Penalty for

 Defendant.” (Doc. #206). O’Reilly asks the Court to order the United States

 Department of Justice (“DOJ”) and/or Attorney General Gonzales (“Gonzales”) to



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 produce all documents Gonzales reviewed before issuing his decision to seek the death

 penalty.

        For the following reasons, O’Reilly’s motion to strike the non-statutory

 aggravators is GRANTED IN PART AND DENIED IN PART. However, two portions of

 it - to strike the “future dangerousness” non-statutory aggravating factor and his request

 for an evidentiary hearing - are DENIED WITHOUT PREJUDICE.

        O’Reilly’s motion to compel disclosure of documents is DENIED.

 II.    AGGRAVATING FACTORS

        The Government listed five non-statutory aggravating factors in section C of the

 Notice of Intent:

        1. Defendant shot Norman Stephens from behind, and while Stevens[sic]

             was already wounded and on the ground.

        2. Additional violent behavior: Defendant committed the June 19, 2003

             Comerica bank robbery wherein he opened fire without warning on

             Guard Jonathan Smith with an SKS rifle. Defendant also committed

            other armored car robberies and several home invasion robberies of

            drug dealers with co-defendant Norman Duncan.

        3. Future Dangerousness: Defendant stated that he planned to commit

            additional robberies when he is released from prison. Defendant

            stated that he intends to kill the witnesses who testified against co-

            defendant Norman Duncan when released from prison. Defendant

            also stated that he would have killed co-defendant Earl Johnson after



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          the Dearborn Credit Union robbery if he would have known how

          Johnson would handle his share of the proceeds.

        4. Lack of remorse: Defendant’s taped conversation evidences his

              complete lack of remorse for his killing of Stephens and includes

          defendant’s statement that he will kill again.

        5. The substantial and significant effect of the offense on the victim’s

              family will be established through oral testimony and victim impact

              statements.

        A. Weighing of Non-Statutory Aggravating Factors

        The Federal Death Penalty Act (“FDPA”) is a weighing statute, which requires the

 jury to balance statutory and non-statutory aggravating factors against mitigating factors

 to determine if the death penalty is warranted. See 18 U.S.C. §3593(e) (“the jury[] . . .

 shall consider whether all the aggravating factor[sic] or factors found to exist sufficiently

 outweigh all the mitigating factor[sic] or factors found to exist to justify a sentence of

 death[.]”)

        O’Reilly says it is a violation of his Fifth, Sixth, and Eighth Amendment rights to

 allow the jury to “weigh” non-statutory aggravating factors that duplicate statutory

 factors or offense elements, and they (the non-statutory aggravating factors) do not

 genuinely narrow the class of persons eligible for the death penalty. According to

 O’Reilly, this “tips the scales” in favor of the death penalty, See Stringer v. Black, 503

 U.S. 222, 231-32 (1992), and leaves the jury with the false impression that numerous

 non-statutory aggravating factors exist.

        Two statutory aggravating factors are in the Notice of Intent:

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        1. Defendant, in the commission of the offense, knowingly created a
            grave risk of death to one or more persons in addition to the victim of
           the offense. 18 U.S.C. §3592(c)(5).

        2. Defendant committed the offense as consideration for the receipt, or in
           expectation of the receipt, of a thing of pecuniary value. 18 U.S.C.
           §3592(c)(8).

 The Court disagrees that the non-statutory aggravating factors duplicate the statutory

 aggravating factors. The statutory factors focus on the indicted offense; the non-

 statutory factors describe: (1) past crimes O’Reilly allegedly committed; (2) the

 circumstances surrounding Stephens’s murder; (3) O’Reilly’s alleged statements

 concerning planned future conduct; and (4) the effect the murder has had on

 Stephens’s family.

        Furthermore, it is constitutional to allow the jury to “weigh” non-statutory

 aggravating factors that may duplicate offense elements. See United States v. Diaz,

 2007 WL 656831 at *16 (N.D. Cal. Feb. 28, 2007); see also Lowenfield v. Phelps, 484

 U.S. 231, 246 (1988) (“the fact that the aggravating [factor] duplicated one of the

 elements of the crime [did] not make [the defendant’s] sentence constitutionally infirm.”).

 “[T]he Eighth Amendment does not prohibit the use of an aggravating factor during the

 sentencing phase that duplicates one or more elements of the offense of the crime

 found at the guilt phase.” United States v. Higgs, 353 F.3d 281, 315 (4th Cir. 2003)

 (citations omitted).

        Finally, the jury narrows the class of persons eligible for the death penalty by

 finding guilt, at least one preliminary threshold “intent” factor, and at least one statutory

 aggravating factor. The primary function of non-statutory aggravating factors is to

 provide the jury with all possible relevant information to allow it to tailor its verdict to the

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 specific defendant. See United States v. Davis, 912 F.Supp. 938, 943 (E.D. La. 1996)

 (finding that after the jury makes threshold findings of intent and at least one statutory

 aggravating factor, “[t]he jury is then to consider other information and factors, both in

 further aggravation or in mitigation of the penalty. This additional information is to assist

 the jury in making its ultimate decision. Here, the goal is to individualize the sentence

 as much as possible.”).

        But, non-statutory aggravating factors can also play a narrowing function role at

 the penalty phase. When a jury finds the Government proved at least one non-statutory

 aggravating factor beyond a reasonable doubt, it must determine if that factor(s) and the

 statutory aggravating factors sufficiently outweigh mitigating factors to impose a death

 sentence. Hence, although non-statutory aggravating factors do not narrow the class of

 persons eligible for the death penalty, they may help further narrow that class to those

 the jury believe warrant a death sentence.

        Also, see Order entered on Docs. #195 and #222.

        B. The FDPA Authorizes Non-Statutory Aggravating Factors

        O’Reilly says allowing the Government to include non-statutory aggravating

 factors in the Notice of Intent: (1) changes the statutory scheme; (2) gives the

 Government unlimited discretion to seek the death penalty; (3) violates Congress’s

 intent; and (4) renders the enumerated aggravating factors superfluous and

 insignificant. See Zeigler Coal Co. v. Kleppe, 536 F.2d 398, 406 (C.A.D.C. 1976).

        O’Reilly argues the Government exceeds its statutory authority in alleging non-

 statutory aggravating factors because 18 U.S.C. §3591 defines who may be sentenced

 to death and in what manner: “[a] defendant who has been found guilty . . . shall be

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 sentenced to death if, after consideration of the factors set forth in section 3592 . . . it is

 determined that imposition of a sentence of death is justified.” O’Reilly argues the

 Government can only allege statutory aggravating factors because “set forth” means to

 list, to enumerate, and to specify; 18 U.S.C. §§ 3592(c) and 3593(a) (which the

 Government relies on for authority to allege non-statutory aggravating factors) cannot

 supersede the specific limitation of 18 U.S.C. §3591; and, specific terms prevail over

 general terms. See Fourco Glass Co. v. Transmirra Products Corp., 353 U.S. 222, 228-

 29 (1957). This is an incorrect interpretation of the statute.

        Congress specifically listed 16 statutory aggravating factors, but the FDPA does

 not preclude the consideration of non-statutory aggravating factors. In addition to 18

 U.S.C. §§ 3592(c) and 3593(a), authority for non-statutory aggravating factors can be

 found in 18 U.S.C. §§ 3593(c) and (d). Section 3593(c) says, “[a]t the sentencing

 hearing, information may be presented as to any matter relevant to the sentence,

 including any . . . aggravating factor permitted or required to be considered under

 section 3592.” Section 3593(d) says the jury “[s]hall return special findings identifying

 any aggravating factor or factors set forth in section 3592 found to exist and any other

 aggravating factor for which notice has been provided under subsection (a) found to

 exist.” The jury can consider non-statutory aggravating factors if the Government gives

 defendant notice of the factors it intends to present. See 18 U.S.C. §3592(c). The

 Government complied with that requirement by listing five non-statutory aggravating

 factors in the Notice of Intent.

         In addition, other courts uphold the constitutionality of non-statutory aggravating

 factors under the FDPA. See e.g., United States v. Llera Plaza, 179 F.Supp.2d 444,

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 454 (E.D. Penn. 2001) (“[t]here is nothing in the catch-all sentence of §3592(c) which

 runs afoul of the Constitution”) (citing United States v. Allen, 247 F.3d 741, 757-58 (8th

 Cir. 2001); United States v. Cooper, 91 F.Supp.2d 90, 100 (D.D.C. 2000); United States

 v. Frank, 8 F.Supp.2d 253, 264-66 (S.D.N.Y. 1998)); United States v. Sampson, 486

 F.3d 13, 44 n.14 (1st Cir. 2007) (“[w]hile only the finding of a statutory aggravating

 factor can render a defendant death-eligible, the jury may consider non-statutory

 aggravating factors in deciding whether a sentence of death is appropriate”) (citing 18

 U.S.C. §3593(c)-(e)).

        C. The FDPA is Constitutional

        Although O’Reilly does not specify what constitutional provision is violated, he

 argues that irrespective of Zant v. Stephens, 462 U.S. 862 (1983), the FDPA is

 unconstitutional if the Court finds it authorizes non-statutory aggravating factors.

 O’Reilly argues the FDPA allows the Government unlimited discretion to “invent and

 allege” such factors. He says the danger of such discretion is evident when the

 Government simply rephrases offense elements and labels them non-statutory

 aggravating factors.

        The United States Supreme Court held that a death penalty scheme that allows a

 jury to consider non-statutory aggravating factors is constitutional. The Georgia capital

 sentencing statute is similar to the FDPA in that it requires the jury to first find at least

 one statutory aggravating factor before it may consider imposing the death penalty.

 Once this threshold is met, the jury may consider “all the facts and circumstances of the

 case.” See Zant, 462 U.S. at 872. In upholding this death penalty scheme, the

 Supreme Court held:

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        [s]tatutory aggravating circumstances play a constitutionally necessary
        function at the stage of legislative definition: they circumscribe the class of
        persons eligible for the death penalty. But the Constitution does not
        require the jury to ignore other possible aggravating factors in the process
        of selecting, from among that class, those defendants who will actually be
        sentenced to death.

 Id. at 878-79. “What is important at the selection stage is an individualized

 determination on the basis of the character of the individual and the circumstances of

 the crime.” Id. at 879 (emphasis in original).

        In addition, there are at least four limitations the Government must consider in its

 decision to allege non-statutory aggravating factors. See United States v. Jones, 132

 F.3d 232, 239-40 (5th Cir. 1998). First, the statute limits the scope of aggravating

 factors to those for which the Government gave prior notice. Id. at 240 (citing 18 U.S.C.

 §3593(a)). Second, death penalty jurisprudence guides the Government in formulating

 non-statutory aggravating factors. Third, the district court is required to limit the

 admission of useless and impermissibly prejudicial information. Jones, 132 F.3d at 240.

 Finally, the jury must find at least one statutory aggravating factor beyond a reasonable

 doubt before it can even consider non-statutory aggravating factors. Id. (citing 18

 U.S.C. §3593(d)).

        For all of these reasons, the Court declines to find the FDPA unconstitutional

 because it authorizes non-statutory aggravating factors.



        D. Non-Statutory Aggravating Factors not Found by a Grand Jury

        O’Reilly says that while statutory aggravating factors were presented to a grand

 jury, Cunningham v. California, 127 S.Ct. 856 (2007) requires that non-statutory


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 aggravating factors be presented to a grand jury as well.

        In Cunningham, the petitioner was convicted of continuous sexual abuse of a

 child under the age of 14. California’s determinate sentencing law (“DSL”) punishes

 that offense by imprisonment of a lower-term sentence of six years, a middle-term

 sentence of 12 years, or an upper-term sentence of 16 years. Cunningham, 127 S.Ct.

 at 860. The DSL obliged the court to sentence the petitioner to 12 years unless the

 court found one or more additional facts in aggravation. “Selection of the upper term is

 justified only if, after a consideration of all the relevant facts, the circumstances in

 aggravation outweigh the circumstances in mitigation.” Id. at 863 n.9 (quoting Cal. Rule

 of Court 4.420(b)). The court sentenced the petitioner to 16 years after it found six

 aggravating facts outweighed the sole mitigating fact. Id. at 860-61. Petitioner’s

 sentence was affirmed on appeal. Id. at 861.

        In reversing, the Supreme Court stated, “[u]nder the Sixth Amendment, any fact

 that exposes a defendant to a greater potential sentence must be found by a jury, not a

 judge, and established beyond a reasonable doubt, not merely by a preponderance of

 the evidence.” Id. at 863-64 (citing Jones v. United States, 526 U.S. 227 (1999);

 Apprendi v. New Jersey, 530 U.S. 466 (2000); and Harris v. United States, 536 U.S.

 545, 557 (2002)). The Court held:

        Because circumstances in aggravation are found by the judge, not the
        jury, and need only be established by a preponderance of the evidence,
        not beyond a reasonable doubt, . . . the DSL violates Apprendi’s bright-line
        rule: Except for a prior conviction, “any fact that increases the penalty for a
        crime beyond the prescribed statutory maximum must be submitted to a
        jury, and proved beyond a reasonable doubt.”

 Cunningham, 127 S.Ct. at 868 (quoting Apprendi, 530 U.S. at 490).


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         O’Reilly argues the DSL invalidated in Cunningham is indistinguishable from the

  FDPA, where at least one statutory aggravating factor must be established, but it alone

  may not be sufficient to justify the death penalty. According to O’Reilly, the

  Cunningham DSL required the court to find additional aggravating facts and weigh them

  against any mitigating factors to determine whether a higher sentence was justified.

  Similarly, O’Reilly says when statutory aggravating factors are insufficient to justify a

  death sentence, the jury must find at least one non-statutory aggravating factor to weigh

  against mitigating factors to justify a higher sentence. According to O’Reilly, because

  the jury must find at least one non-statutory aggravating factor before he is exposed to

  the death penalty, they must be submitted to a grand jury.

         The Court disagrees.

         A defendant is exposed to the death penalty after the jury finds guilt, at least one

  preliminary threshold “intent” factor, and at least one statutory aggravating factor. A jury

  does not need to find a non-statutory aggravating factor to impose a death sentence. In

  the absence of a non-statutory aggravating factor, the jury will determine if the statutory

  aggravating factors alone “sufficiently outweigh” any mitigating factors.

         At this juncture, the jury can be likened to a judge at sentencing. The statutory

  maximum is known; the guidelines are established; no sentence above that range can

  be imposed; and the jury is now looking at some of the same evidence used to establish

  guilt, to fashion a sentence. Indeed, 18 U.S.C. §3661 states that “[n]o limitation shall be

  placed on the information concerning the background, character, and conduct of a

  person convicted of an offense which a court . . . may receive and consider for the

  purpose of imposing an appropriate sentence.”

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         The jury at the weighing stage is beyond threshold considerations and must have

  before it all information pertaining to the Defendant in making its decision.

         Also, see Order entered on Doc. #186.

         E. Specific Non-Statutory Aggravating Factors

         O’Reilly addresses each non-statutory aggravating factor he argues the Court

  should strike.

                   1. Lack of Remorse and Future Dangerousness

         The Government concedes it will not argue O’Reilly’s “lack of remorse” as a

  separate non-statutory aggravating factor, so the Court strikes this factor from section

  C(4) of the Notice of Intent. But, the Government says it may present such evidence to

  support the “future dangerousness” non-statutory aggravating factor.

         O’Reilly disagrees this can be done. He acknowledges the United States

  Supreme Court upheld the Texas death penalty scheme even though it allows for

  “future dangerousness” evidence. See Jurek v. Texas, 428 U.S. 262, 274-76 (1976)

  (holding that Texas can constitutionally require a jury to answer the question of “whether

  there is a probability that the defendant would commit criminal acts of violence that

  would constitute a continuing threat to society” if he were not sentenced to death). But,

  O’Reilly says the FDPA is different because it is a weighing scheme that instructs the

  jury to balance statutory and non-statutory aggravating factors against any mitigating

  factors. O’Reilly argues the jury cannot balance “future dangerousness” evidence

  because it duplicates statutory aggravating factors Congress authorized the

  Government to use to prove a defendant’s “future dangerousness.” See 18 U.S.C.



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  §3592(c)(2) (previous conviction of violent felony involving firearm); 18 U.S.C.

  §3592(c)(3) (previous conviction of offense for which a sentence of death or life

  imprisonment was authorized); 18 U.S.C. §3592(c)(4) (previous conviction of other

  serious offenses); 18 U.S.C. §3592(c)(10) (conviction for two felony drug offenses); 18

  U.S.C. §3592(c)(12) (conviction for serious federal drug offenses). He says the

  Government cannot create a general “future dangerousness” category.

         O’Reilly further argues the Court should strike the “future dangerousness” factor

  because he faces life in prison without the possibility of parole if he is convicted of a

  death-eligible crime and not sentenced to death. O’Reilly asserts the evidence the

  Government intends to rely on has no practical substance, does not provide any

  meaningful guidance to the life or death decision, and cannot fairly measure whether he

  will be a danger to society. According to O’Reilly, even if the alleged threats are

  genuine, he cannot act on them while incarcerated.

         The Court finds that “future dangerousness” as a non-statutory aggravating factor

  is proper. See e.g., Allen, 247 F.3d at 788 (“[g]iven the broad language of the FDPA as

  to the allowance of nonstatutory aggravating factors, there is no reason under the FDPA

  why future dangerousness cannot be presented to the jury”) (citing 18 U.S.C. §3592(c));

  Diaz, 2007 WL 656831 at *23 (“[e]vidence of future dangerousness has generally been

  upheld as admissible under the FDPA.”). “The fact that Congress chose not to list

  ‘future dangerousness’ as a statutory factor is irrelevant because Congress specifically

  allows the Government to present nonstatutory aggravating factors to the jury.” United

  States v. Henderson, 485 F.Supp.2d 831, 870 (S.D. Ohio 2007).

         The Court also finds the Government may present “lack of remorse” evidence to

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  support the “future dangerousness” non-statutory aggravating factor. See United States

  v. Bin Laden, 126 F.Supp.2d 290, 303-04 (S.D.N.Y. 2001) (“[L]ower courts have

  uniformly upheld future dangerousness as a non-statutory aggravating factor in capital

  cases under the FDPA, including instances where such factor is supported by evidence

  of . . . lack of remorse”); Diaz, 2007 WL 656831 at *25 (“This order follows the weight of

  authority from other courts finding ‘lack of remorse’ constitutional and admissible to

  support future dangerousness”); United States v. Taylor, 2006 WL 3229966 at *10 (E.D.

  Tenn. Oct. 31, 2006) (“[e]vidence proving . . . lack of remorse [is an] indicator[], and thus

  evidence, of future dangerousness”); United States v. Jones, 2003 WL 23653033 at *2

  n.2 (D. Conn. Oct. 10, 2003) (noting that defendant’s lack of remorse could be used as

  evidence to support a finding of future dangerousness); see also Order (Regarding Doc.

  #189).

           However, “[w]hen the only alternate punishment to death is life imprisonment

  without the possibility of parole[] . . . district courts appear to have uniformly held that

  the government is limited to presenting evidence on future dangerousness [as it applies

  to life in prison].” United States v. Rodriguez, 2006 WL 487117 at *5 (D.N.D. Feb. 28,

  2006) (citing Llera Plaza, 179 F.Supp.2d at 477-78; Cooper, 91 F.Supp.2d at 111-12;

  United States v. Peoples, 74 F.Supp.2d 930, 931 (W.D. Mo. 1999)). The Notice of

  Intent does not include any evidence related to O’Reilly’s alleged dangerousness in

  prison; only alleged statements about crimes he plans to commit when released from

  prison and what he would have done to his co-defendant Earl Johnson are included.

  Hence, the Government may not introduce “future dangerousness” evidence if O’Reilly

  is convicted on count two and not count three; “future dangerousness” evidence would

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  be irrelevant on a count two conviction because the jury could only sentence O’Reilly to

  life in prison or the death penalty. See 18 U.S.C. §2113(e).

                2. Additional Violent Behavior

         O’Reilly says the Court must strike the “additional violent behavior” factor

  because it is duplicative of the “future dangerousness” non-statutory aggravating factor.

         The Court disagrees. “Additional violent behavior” focuses on O’Reilly’s alleged

  past criminal activity, while “future dangerousness” focuses on O’Reilly’s alleged

  statements regarding future criminal activity he plans.

         O’Reilly also argues the Court should strike this factor because it is vague.

  According to O’Reilly, he cannot adequately prepare his defense without more detail

  surrounding the allegations that he committed other armored car robberies and several

  home invasion robberies of drug dealers with co-defendant Norman Duncan. O’Reilly

  analogizes the Notice of Intent to the indictment and states if an indictment simply

  alleged these facts, it would be dismissed for lack of specificity.

         The Court declines O’Reilly’s request. The Notice of Intent must only list the

  statutory and non-statutory aggravating factors the Government intends to prove. See

  18 U.S.C. §3593(a)(2). The Government exceeded this requirement by including the

  evidence it proposes to use in support of this factor.

         O’Reilly asserts the Court should strike this factor because it duplicates counts

  four, five, and six of his Second Superseding Indictment. O’Reilly refers the Court to

  State v. Middlebrooks, 840 S.W.2d 317, 341-42 (Tenn. 1992).

         Count four alleges O’Reilly and certain co-defendants participated in a

  conspiracy to rob Comerica bank. Count five alleges they aided and abetted each other

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  in the Comerica bank robbery. Count six alleges they aided and abetted each other in

  using and carrying a firearm during the Comerica bank robbery. The “additional violent

  behavior” factor alleges O’Reilly committed the Comerica bank robbery.

        The Court declines to strike this factor “solely because of an alleged duplication

  of indictment charges.” See Diaz, 2007 WL 656831 at *16. In Diaz, the defendants

  argued that certain non-statutory aggravating factors inappropriately duplicated charges

  in the indictment. The court held that contention lacked merit because “the Eighth

  Amendment does not prohibit the use of an aggravating factor during the sentencing

  phase that duplicates one or more elements of the offense of the crime found at the guilt

  phase.” Diaz, 2007 WL 656831 at *16 (citations omitted).

        O’Reilly also argues this factor improperly links a non-capital offense – the

  Comerica bank robbery – to a capital offense. O’Reilly relies on Ring v. Arizona, 536

  U.S. 584 (2002), which held the Sixth Amendment requires statutory aggravating factors

  to be found by a jury because they operate as the “functional equivalent of an element

  of a greater offense.” Ring, 536 U.S. at 609 (quoting Apprendi, 530 U.S. at 494 n.19).

  O’Reilly’s reliance on Ring is misplaced. See Order (Regarding Doc. #186).

  Further, the Notice of Intent says the Government is only seeking the death penalty for

  counts two and three of the Second Superseding Indictment, which relate to the

  Dearborn Federal Credit Union robbery.

               3. Circumstances Surrounding the Shooting

        O’Reilly argues the Government lacks credible support for the allegation that he

  “shot Norman Stephens from behind, and while Stevens[sic] was already wounded and



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  on the ground.” O’Reilly contends the only evidence the Government will use to support

  its theory is his “manipulated” statement to Nix-Bey, a Government informant. The

  Court declines to strike this factor.

         The Government states that in addition to O’Reilly’s statements, it will offer the

  testimony of a Wayne County Medical Examiner, who will testify that Stephens was shot

  twice in the back and that each shotgun blast alone would have brought Stephens to the

  ground. In addition, it is the jury that determines the credibility of witnesses and the

  weight to give O’Reilly’s statements. See Reeves v. Sanderson Plumbing Products,

  Inc., 530 U.S. 133, 150 (2000) (“Credibility determinations, the weighing of the

  evidence, and the drawing of legitimate inferences from the facts are jury functions, not

  those of a judge”) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)).

         O’Reilly also argues there is nothing inherently aggravating about this conduct

  that warrants the death penalty. The Government disagrees, stating this factor speaks

  to the brutal nature of Stephens’s killing.

         The FDPA does not limit the non-statutory aggravating factors the Government

  can present. See 18 U.S.C. §3592(c). However, “[t]he Government may not employ

  simply any non-statutory factor of its choice.” Frank, 8 F.Supp.2d at 265. Instead, the

  Government must choose the factors it believes appropriate to the case and submit

  them to the defendant and to the Court. If the Court determines that any factor is

  inappropriate or runs afoul of Supreme Court jurisprudence, the factor will be excluded.

  Id.; see also 18 U.S.C. §3593(c) (“information may be excluded if its probative value is

  outweighed by the danger of creating unfair prejudice, confusing the issues, or

  misleading the jury”); Jones, 132 F.3d at 250-51 (excluding non-statutory factors as

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  duplicative); Tuilaepa v. California, 512 U.S. 967, 972 (1994) (holding that non-statutory

  factors cannot be unconstitutionally vague).

         This factor is proper. The jury will most likely hear about the circumstances

  surrounding Stephens’s killing during the guilt phase. Therefore, its probative value is

  not outweighed by the danger of creating unfair prejudice, confusing the issues, or

  misleading the jury. In addition, this factor does not duplicate any other non-statutory

  aggravating factor, and it is not unconstitutionally vague.

         O’Reilly also says the “circumstances surrounding the offense” non-statutory

  aggravating factor duplicates 18 U.S.C. §§ 3591(a)(2)(C), 3591(a)(2)(D), and

  3592(c)(5). Section 3591(a)(2)(C) states, “Defendant intentionally participated in an act,

  contemplating that the life of a person would be taken or intending that lethal force

  would be used in connection with a person, other than one of the participants in the

  offense, and the victim died as a direct result of the act.” Section 3591(a)(2)(D) states,

  “Defendant intentionally and specifically engaged in an act of violence, knowing that the

  act created a grave risk of death to a person, other than one of the participants of the

  offense, such that participation in the act constituted a reckless disregard for human life

  and the victim died as a direct result of the act.”

         The section 3591(a) factors do not duplicate the non-statutory aggravating

  factors. Section 3591(a) lists preliminary threshold “intent” factors that the jury does not

  weigh in making a sentencing recommendation. The jury finds one or more of these

  threshold factors at the guilt phase; it evaluates non-statutory aggravating factors at the

  penalty phase.

         Further, section 3592(c)(5) states, “Defendant, in the commission of the offense,

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  knowingly created a grave risk of death to one or more persons in addition to the victim

  of the offense.” The Court finds the “circumstances surrounding the offense” non-

  statutory aggravating factor does not duplicate this statutory aggravating factor. The

  statutory aggravating factor relates to the individuals who were allegedly placed in a

  grave risk of death; the non-statutory aggravating factor relates to how Stephens was

  killed.

            F. Request for Evidentiary Hearing

            O’Reilly asserts that unreliable information may be introduced in a death penalty

  sentencing hearing because the rules of evidence are relaxed. He requests an

  Evidentiary Hearing several months in advance of trial on any non-statutory aggravating

  factor the Court does not strike. He asks that the Government be required to produce

  the evidence or information it seeks to offer in support so the Court can assess its

  reliability and the time complexity involved in its presentation.

            “[T]his Court has the authority to conduct a hearing to examine the reliability [and

  admissibility] of evidence the government intends to introduce at the sentencing phase.”

  Llera Plaza, 179 F.Supp.2d at 469; see also Davis, 912 F.Supp. at 949. However, the

  Court finds that a pre-trial Evidentiary Hearing is unnecessary. See United States v.

  Solomon, 2007 WL 1878030 at *16 (June 26, 2007) (citing Frank, 8 F.Supp.2d at 278-

  79)).

            First, O’Reilly is unlikely to be surprised by the evidence offered at the penalty

  phase because much of it will be introduced during the guilt phase. See Frank, 8

  F.Supp.2d at 278-79. Second, the Court is required to exclude any information at the

  penalty phase that is more unfairly prejudicial than probative. Id. at 279; see also 18

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  U.S.C. §3593(c). Third, the penalty phase is an adversarial proceeding where the

  defendant is “permitted to rebut any information received at the hearing,” and may

  “present argument as to the adequacy of the information to establish the existence of

  any aggravating factor.” Id. (quoting 18 U.S.C. §3593(c)).

         However, the Court will be in a better position to evaluate the relevance of the

  evidence and the complexity involved in presenting the evidence after the guilt phase.

  O’Reilly may renew his evidentiary objections at the conclusion of the guilt phase, and

  the Court will reconsider the need for an Evidentiary Hearing. See Solomon, 2007 WL

  1878030 at *16.

         G. Statutory Aggravating Factors

         Other arguments O’Reilly makes are that statutory aggravating factors are

  duplicative and vague and the Government expands the “intent to kill” preliminary

  threshold “intent” factor into four separate aggravating factors. These are similar to

  arguments made in previous motions and are not addressed here. The Court refers the

  parties to the Order entered on Docs. #187 and #204.

  III.   NOTICE OF INTENT AND DEATH PENALTY PROTOCOL

         A. Notice of Intent

         O’Reilly argues the notice provision of the FDPA, 18 U.S.C. §3593(a), violates

  his due process rights because it allows a biased decision-maker to issue an

  “uninformative” Notice of Intent.

         The Court declines to hold the notice provision unconstitutional.

         The Government cannot seek the death penalty without assistance from a



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  Federal Grand Jury. Although the Government ultimately issues the Notice of Intent,

  the death penalty is not an option if the grand jury does not indict on a death-eligible

  offense.

         On October 26, 2005, the Government obtained a Second Superseding

  Indictment from a Federal Grand Jury. In count two of the indictment, the grand jury

  found O’Reilly and his co-defendants killed Stephens in the commission of the Dearborn

  Federal Credit Union robbery, in violation of 18 U.S.C. §2113(e). In count three of the

  indictment, the grand jury found they knowingly carried and used a 12-gauge shotgun

  during and in relation to a bank robbery, in violation of 18 U.S.C. §924(c)(1), and in the

  course of this violation unlawfully killed Stephens with malice aforethought by shooting

  him with the firearm, in violation of 18 U.S.C. §924(j). The Government filed the Notice

  of Intent on November 1, 2006.

         By presenting its case to a Federal Grand Jury before issuing a Notice of Intent,

  the Government complied with the Constitution and the FDPA. See United States v.

  Robinson, 367 F.3d 278, 290 (5th Cir. 2004) (“[t]he government can easily comply with

  both its constitutional obligations (by first going to the grand jury) and its statutory

  obligations (by later filing a §3593(a) notice of intention to seek the death penalty.”)).

          In addition, the Notice of Intent was not “uninformative.” The Government listed

  the preliminary threshold “intent” factors, the statutory aggravating factors, and the non-

  statutory aggravating factors it intends to prove. It also provided the violent crimes it will

  rely on to prove additional violent behavior, the statements it will use to prove future

  dangerousness, and the conversation it will use to show a lack of remorse. This is more

  than sufficient information. See e.g., United States v. Nguyen, 928 F.Supp. 1525, 1545-

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  46 (D. Kan. 1996) and United States v. LeCroy, 441 F.3d 914, 930 (11th Cir. 2006)

  (“[t]he government in this case satisfied its constitutional and statutory obligations by

  informing the defendant of what aggravating factors - both statutory and nonstatutory - it

  intended to prove at trial. The government was not obligated to outline what specific

  pieces of evidence it planned to use to support the aggravating factors”); see also 18

  U.S.C. §3593(a)(2).

         B. Death Penalty Protocol

         Decisions to seek the death penalty in the federal system are made pursuant to

  the Death Penalty Protocol (“Protocol”). The Protocol was promulgated by the DOJ on

  January 27, 1995 shortly after the enactment of the FDPA. It provides:

         [i]n any post-indictment case in which the United States Attorney is
         considering whether to request approval to seek the death penalty, the
         United States Attorney shall give counsel for the defendant a reasonable
         opportunity to present any facts, including any mitigating factors for the
         consideration of the United States Attorney.

  United States Attorney’s Manual §9-10.050 (“USAM”).

         The United States Attorney then submits to the Attorney General: (1) a

  prosecution memoranda explaining the basis for his recommendation for or against the

  death penalty; (2) a death-penalty evaluation form; (3) a non-decisional information

  form; (4) all existing and proposed superseding indictments; (5) a draft Notice of Intent if

  he recommends the death penalty; (6) any documents or materials provided by defense

  counsel in the course of the death penalty review process; (7) the name of the United

  States Attorney responsible for communicating with the capital case unit about the case;

  and (8) any court orders and deadlines. Id. at §9-10.080. The Attorney General finally

  decides whether to seek or not seek the death penalty. Id. at §9-10.040.              1.

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  Due Process and Procedural Rights

        O’Reilly states that when Congress gave this authority to the Attorney General, it

  did so assuming he would protect due process. See Greene v. McElroy, 360 U.S. 474,

  507 (1959) (“Where administrative action has raised serious constitutional problems, the

  Court has assumed that Congress or the President intended to afford those affected by

  the action the traditional safeguards of due process.”). But, O’Reilly argues his due

  process rights and procedural rights under the Administrative Procedure Act (“APA”)

  were violated. He says the Government unconstitutionally failed to inform him of the

  basis on which it would recommend the death penalty so he could adequately present

  facts and mitigating factors to the United States Attorney. See de la Llana-Castellon v.

  I.N.S, 16 F.3d 1093, 1096 (10th Cir. 1994) (“[t]he fundamental requirement of due

  process is the opportunity to be heard at a ‘meaningful time and in a meaningful

  manner’”) (quoting Mathews v. Eldridge, 424 U.S. 319, 333 (1976)).

        Because the USAM does not create any substantive or procedural rights, the

  Government did not violate O’Reilly’s rights. The USAM explicitly states, “[t]he Manual

  provides only internal Department of Justice guidance. It is not intended to, does not,

  and may not be relied upon to create any rights, substantive or procedural, enforceable

  at law by any party in any matter civil or criminal.” USAM §1-1.100.

        Further, other courts hold the USAM does not create rights for criminal

  defendants. See e.g., United States v. Fernandez, 231 F.3d 1240, 1246 (9th Cir. 2000)

  (citing United States v. Montoya, 45 F.3d 1286, 1295 (9th Cir. 1995); United States v.

  Piervinanzi, 23 F.3d 670, 682 (2nd Cir. 1994); United States v. Lorenzo, 995 F.2d 1448,

  1453 (9th Cir. 1993); United States v. Busher, 817 F.2d 1409, 1411 (9th Cir. 1987));

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  United States v. Roman, 931 F.Supp. 960, 964 (D.R.I. 1996) (citing United States v.

  Craveiro, 907 F.2d 260, 264 (1st Cir. 1990); United States v. Stansfield, 874 F.Supp.

  640 (M.D. Pa. 1994); United States v. Loften, 518 F.Supp. 839 (S.D.N.Y. 1981)); United

  States v. Feliciano, 998 F.Supp. 166, 175 (D. Conn. 1998).

        Finally, the APA excludes from coverage “inter-agency or intra-agency

  memorandums or letters which would not be available by law to a party other than an

  agency in litigation with the agency.” 5 U.S.C. §552(b)(5).

               2. Disclosure of Internal Documents

        O’Reilly states that although the Attorney General has discretion to seek the

  death penalty, race cannot be a factor. See Swain v. Alabama, 380 U.S. 202, 203-04

  (1965). O’Reilly believes “Attorney General Gonzales’s choice to seek the death

  penalty in his case was motivated by unconstitutional and purposefully discriminatory

  racial considerations” because this was an interracial murder and O’Reilly believes

  white defendants face the death penalty at a higher rate than other races under

  Gonzales. See Def. Exh. 1 and 2, charts entitled “Odds of Facing the Death Penalty by

  Race of Defendant and Victim Combinations, Attorney General Ashcroft” and “Odds of

  Facing the Death Penalty by Race of Defendant and Victim Combinations, Attorney

  General Gonzales – November 1, 2006.” O’Reilly argues he is entitled to review all of

  the documents Gonzales used in his decision, including, but not limited to the death-

  penalty evaluation form and the prosecution memoranda.

        Some of O’Reilly’s argument was addressed by the Court in its Order (Regarding

  Doc. #208) and will not be addressed here.

        O’Reilly finds additional support for his request for disclosure in United States v.

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  Feliciano, 998 F.Supp. 166 (D. Conn. 1998) and United States v. Roman, 931 F.Supp.

  960 (D.R.I. 1996). However, the courts in these cases held the Protocol does not give

  defendants a right to discover this information because it does not create substantive or

  procedural rights. Feliciano, 998 F.Supp. at 169; Roman, 931 F.Supp. at 964. This

  Court agrees with those holdings.

         Furthermore, “[t]he Death Penalty Evaluation Form and prosecution

  memorandum are internal government documents created as part of a deliberative

  process. As such, they are protected from disclosure.” United States v. Furrow, 100

  F.Supp.2d 1170, 1172 (C.D. Cal. 2000); see also United States v. W.R. Grace, 455

  F.Supp.2d 1140, 1143 (D. Mont. 2006) (“Under the common law deliberative process

  privilege, government agencies or departments may refuse to disclose information

  related to intra-governmental opinions, recommendations, proposals, etc., which are

  related to their decisional or policymaking functions.”).

         Disclosure is prohibited because “[t]he decision-making process preliminary to

  the Attorney General’s final decision is confidential. Information concerning the

  deliberative process may only be disclosed within the Department and its investigative

  agencies as necessary to assist the review and decision-making.” USAM §9-10.040.

  Included in the scope of confidentiality is the recommendation of the United States

  Attorney’s Office. Id. “The prosecution memoranda, death penalty evaluation forms,

  non-decisional information forms and any other internal memoranda informing the

  review process and the Attorney General’s decision are not subject to discovery by the

  defendant or the defendant’s attorney.” Id. at §9-10.080.

         These documents are also protected by the work product privilege. See e.g.,

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  United States v. Barber, 297 F.Supp. 917, 922 (D. Del. 1969) (holding that internal

  government documents made in connection with the investigation and prosecution of a

  case are exempt from production); Fernandez, 231 F.3d at 1247.

           If defendants had unfettered access to agency decision-making processes, it

  would chill debate or discussion by agency employees and degrade the ability of

  agencies to function effectively. W.R. Grace, 455 F.Supp.2d at 1143 (citing Assembly

  of the State of California v. United States Dep’t of Commerce, 968 F.2d 916, 920 (9th

  Cir. 1992)).

  IV.      CONCLUSION

           The Court DENIES O’Reilly’s motion to strike the “circumstances surrounding the

  shooting” and “additional violent behavior” non-statutory aggravating factors from

  sections C(1) and C(2) of the Notice of Intent.

           The Court DENIES WITHOUT PREJUDICE O’Reilly’s motion to strike the “future

  dangerousness” non-statutory aggravating factor from section C(3) of the Notice of

  Intent. O’Reilly may renew his motion after the guilt phase if he is convicted on count

  two.

           The Court GRANTS O’Reilly’s motion to strike the “lack of remorse” non-

  statutory aggravating factor from section C(4) of the Notice of Intent. However, the

  Government may use “lack of remorse” evidence to support the “future dangerousness”

  factor, provided the “future dangerousness” factor is not stricken following the guilt

  phase.

           The Court DENIES WITHOUT PREJUDICE O’Reilly’s request for an Evidentiary



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  Hearing.

          The Court DENIES O’Reilly’s motion to compel disclosure of the information

  Gonzales reviewed before issuing his decision to seek the death penalty.

          IT IS ORDERED.


                                                   s/Victoria A. Roberts
                                                   Victoria A. Roberts
                                                   United States District Judge

  Dated: February 1, 2008

   The undersigned certifies that a copy of this
   document was served on the attorneys of
   record by electronic means or U.S. Mail on
   February 1, 2008.

   s/Linda Vertriest
   Deputy Clerk




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